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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

United States of America,

       Plaintiff,
                                                      Case No. 1:10cv694

               v.                                     Judge Michael R. Barrett

Checking Account xxx0017 located
at Woodforest National Bank, et al.,

       Defendants.

                             JUDGMENT IN A CIVIL CASE

       [     ] JURY VERDICT: This action came before the Court for a trial by jury. The
               issues have been tried and the Jury has rendered its verdict.

      [ X]    DECISION BY COURT: This action came to trial or hearing before the Court.
              The issues have been tried or heard and a decision has been rendered.


IT IS ORDERED AND ADJUDGED: Plaintiff’s Motion to Dismiss (Doc. 59) is GRANTED.


Date: June 23, 2016                       Richard W. Nagel, Clerk
                                         Clerk

                                   By:           S/Barbara A. Crum
                                         Deputy Clerk
